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Attorneys for the Petitioner Robert Marie Mark Karpeles,
Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-15
                                           )
           Debtor in a Foreign Proceeding. ) (Emergency Hearing Requested for March 10, 2014)
                                           )

  REQUEST FOR EMERGENCY HEARING ON APPLICATION FOR AN ORDER
GRANTING PROVISIONAL RELIEF PURSUANT TO SECTIONS 105(a) AND 1519 OF
  THE BANKRUPTCY CODE, SCHEDULING RECOGNITION HEARING, AND
            SPECIFYING FORM AND MANNER OF NOTICE

          Robert Marie Mark Karpeles (“Karpeles”), in his capacity as the foreign representative

(the “Petitioner”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor” or “MtGox”), a debtor in a



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civil rehabilitation proceeding under Japanese law (the “Japan Proceeding”), currently pending

before the Twentieth Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”),

respectfully requests that an emergency hearing be set on the Application for an Order Granting

Provisional Relief Pursuant to section 105(a) and 1519 of the Bankruptcy Code, Scheduling

Recognition Hearing, and Specifying Form and Manner of Notice (the “Application”).1

                                      JURISDICTION AND VENUE

          1.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

          2.       Venue for this proceeding is proper before this Court pursuant to 28 U.S.C.

§ 1410.

                                           RELIEF REQUESTED

          3.       By this Emergency Request, Petitioner respectfully seeks entry of an order,

substantially in the form attached hereto as Exhibit A setting an emergency hearing on the

Application on March 10, 2014.

                                            BASIS FOR RELIEF

          4.       As set forth in the Memorandum of Law, there are currently two actions pending

against the Debtor in the United States in which there are near-approaching court appearances

and discovery deadlines, including a hearing on injunctive relief against the Debtor currently

scheduled for 9:00 a.m. CST on March 11, 2014. The Debtor’s participation in these lawsuits

during the short time before the Court rules on the Petition would wastefully divert resources

away from administration of the Japan Proceeding, as well as potentially allow relief to be

entered against the Debtor that would interfere with the Debtor’s Chapter 15 petition and


1
         Any capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the
Application.


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attempts to reorganize in the Japan Proceeding and this Chapter 15 proceeding. Accordingly, the

Application seeks a stay of these actions to avoid irreparable harm to the administration of the

Japan Proceeding and ultimate recognition by this Court of such proceeding.

        5.         The Petitioner respectfully submits that the relief sought herein is urgently needed

for the orderly and equitable administration of the Debtor’s restructuring. Absent such relief, the

Debtor and its creditors will be immediately and irreparably harmed.

                                                NOTICE

        6.         Copies of this Emergency Request, the Application, the Petition, and all related

documents and proposed forms of orders have been provided to: (i) the Office of the United

States Trustee for the Northern District of Texas, Dallas Division; and (ii) counsel to the US

Litigation Matters via electronic mail and facsimile. The Petitioner also contacted counsel to the

US Litigation Matters via telephone.

        7.         Upon entry of any order setting a hearing on this Emergency Request, the

Petitioner will serve the order and a separate notice of hearing in the same manner as described

in Paragraph 6 herein.

        8.         Petitioner submits that the above notice and service constitutes reasonable and

proper notice under the circumstances, and that no other or further notice is necessary or

appropriate.

                                        NO PRIOR REQUEST

        9.         No previous request for the relief requested herein has been made to this or any

other court.




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         WHEREFORE, Petitioner respectfully requests that this Court enter an order,

substantially in the form attached hereto as Exhibit A, (i) granting the relief sought herein and

(ii) granting Petitioner such other and further relief as the Court deems just and proper.

Dated:    March 9, 2014                       Respectfully submitted,
          Dallas, Texas
                                              BAKER & McKENZIE LLP

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